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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KRAFT FOODS GLOBAL, INC., THE                 )
 KELLOGG COMPANY, GENERAL                      )
 MILLS, INC., and NESTLÉ USA, INC.,            )
                                               )
        Plaintiffs,                            )     No. 1:11-cv-08808
                                               )
                v.                             )     Judge Steven C. Seeger
                                               )
 UNITED EGG PRODUCERS, INC.,                   )
 UNITED STATES EGG MARKETERS,                  )
 INC., CAL-MAINE FOODS, INC., and              )
 ROSE ACRE FARMS, INC.                         )
                                               )
        Defendants.                            )

                 MOTION FOR LEAVE TO WITHDRAW APPEARANCE

       Pursuant to Local Rule 83.17, Jenner & Block LLP moves this Court to enter an order

withdrawing the appearance of Margaret M. Hlousek on behalf of Kraft Foods Global, Inc., The

Kellogg Company, General Mills, Inc. and Nestlé USA, Inc. As of July 2, 2024, Ms. Hlousek will

no longer be affiliated with Jenner & Block. Kraft Foods Global, Inc., The Kellogg Company,

General Mills, Inc. and Nestlé USA, Inc. will continue to be represented by Brandon D. Fox,

Andrianna D. Kastanek, Angela M. Allen, Joel T. Pelz, Michael T. Brody, Amy M. Gallegos and

Sati Harutyunyan of Jenner & Block.

 July 2, 2024                                 Respectfully submitted,

                                              Counsel for Plaintiffs Kraft Foods Global, Inc.,
                                              General Mills, Inc., Nestlé USA, Inc. and The
                                              Kellogg Company

                                               /s/ Brandon D. Fox
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                                              Angela M. Allen
                                              Joel T. Pelz
                                              Michael T. Brody
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